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                             UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                     PORTLAND DIVISION

LAWRENCE P. CIUFFITELLI, for himself                            Case No. 3:16-cv-00580-AC
and as Trustee of CIUFFITELLI
REVOCABLE TRUST; GREG and                                     ORDER ON DEFENDANT'S
ANGELA JULIEN; JAMES and SUSAN                                   MOTIONS TO COMPEL
MACDONALD, as Co-Trustees of the
MACDONALD FAMILY TRUST; R.F.
MACDONALD CO.; ANDREW NOWAK,
for himself and as Trustee of the ANDREW
NOWAK REVOCABLE LIVING TRUST
U/A 2/20/2002; WILLIAM RAMSTEIN; and
GREG WARRICK, for himself and, with
SUSAN WARRICK, as Co-Trustees of the
WARRICK FAMILY TRUST, individually
and on behalf of all others similarly situated;

                       Plaintiffs,
       v.

DELOITTE & TOUCHE LLP;
EISNERAMPERLLP; SIDLEY AUSTIN
LLP; TONKON TORP LLP; TD
AMERITRADE, INC.; INTEGRITY BANK
& TRUST; and DUFF & PHELPS, LLC;

                       Defendants.




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ACOSTA, Magistrate Judge:

       Presently before the court are two Motions to Compel (ECF Nos. 364 & 383) filed by

Defendant Deloitte & Touche, LLP ("Deloitte"). The matters have been fully briefed, and the court

heard oral argument on the motions on November 13, 2018. For the reasons that follow, Deloitte's

motions are denied.

                                   Pertinent Factual Background

       The parties and the court are well acquainted with the facts of this case and the court

discusses here only facts pertinent to resolution of the parties' current discovery dispute. Plaintiffs

seek to represent a class of investors who purchased various securities from Aequitas Capital

Management and its affiliated entities ("Aequitas").        Plaintiffs allege Deloitte and the other

Defendants participated or materially aided the sale of Aequitas securities by means of untrue

statements ofmaterial fact or omissions of material fact and are liable under Oregon Revised Statutes

("ORS") § 59 .115(2).

       In its first motion to compel, Deloitte seeks documents pertaining to Plaintiffs' financial

condition and Plaintiffs' claims for damages. 1 Deloitte previously filed a motion to compel

concerning these documents, but withdrew that motion in exchange for Plaintiffs' agreement to

produce damages documents in accordance with an order by the Honorable Kathleen M. Dailey in

a related case, Wurster et al. v. Deloitte & Touche, LLP, et al., 16CV25290 (Mult. Co. Cir. Ct.)

("Wurster"). (Deel. Gavin Masuda Supp. Deloitte Mot. Compel ("Masuda Deel.") Ex. 5, ECF No.

        1
         Shortly before oral argument, the parties filed a Joint Stipulation indicating that they
resolved their disagreement concerning the requested damages documents. (Joint Stipulation
Resolving Mot. Compel in Part, ECF No. 405.) Consequently, the court does not consider the parties
arguments concerning the damages documents.


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365).   Deloitte contends that Plaintiffs have provided insufficient information pertaining to

Plaintiffs' financial condition. In its second motion to compel, Deloitte seeks documents pertaining

to communications between Plaintiffs' counsel and the court-appointed Receiver in a related case,

SECv. Aequitas Mgmt., LLC, Case No. 3:16-cv-00438-JR (D. Or. filed March 10, 2016) (the "SEC

action").

        In response, Plaintiffs contend that their financial condition documents are not relevant to

any claim or defense in this case. Plaintiffs also argue that the documents requested in Deloitte's

second motion are covered by the attorney-client privilege, the common-interest doctrine, the work-

product doctrine, and are not relevant. For all these reasons, Plaintiffs argue that Deloitte' s motions

to compel should be denied.

                                           Legal Standards

        Under Federal Rule of Civil Procedure ("Rule") 37(a)(3)(B), a party may move for an order

compelling the production of requested documents. FED. R. CIV. P. 37(a)(3)(B)(iv). The party

seeking to compel discovery has the burden of establishing its request is relevant under Rule

26(b)(l). Sarnowski v. Peters, Case No. 2:16-cv-00176-SU, 2017 WL 4467542, at *2 (D. Or. Oct.

6, 2017). The party opposing discovery has the burden of showing that discovery should not be

allowed and has the burden of clarifying, explaining, and supporting its objections. Id.; Yiifa v. Hach

Ultra Analytics, No. 1 :09-cv-3022-PA, 2014 WL 11395243, at* 1 (D. Or. Mar. 4, 2014) ("If a party

elects to oppose a discovery request, the opposing party bears the burden of establishing that the

discovery is overly broad, unduly burdensome, or not relevant. Boilerplate, generalized objections

are inadequate and tantamount to not making any objection at all." (citation and quotation omitted)).

If a party objects to a discovery request, it is the burden of the party seeking discovery on a motion


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to compel to demonstrate why the objection is not justified. Weaving v. City ofHillsboro, No. CV-

10-1432-HZ, 2011 WL 1938128, at *1 (D. Or. May 20, 2011).

       In general, the party seeking to compel discovery must inform the court which discovery

requests are the subject of the motion to compel, and, for each disputed request, inform the court why

the information sought is relevant and why the objections are not meritorious. Id.

       Rule 26(b)(1) provides in relevant part:

       Parties may obtain discovery regarding any nonprivileged matter that is relevant to
       any party's claim or defense and proportional to the needs of the case, considering
       the importance of the issues at stake in the action, the amount in controversy, the
       parties' relative access to relevant information, the parties' resources, the importance
       of the discovery in resolving the issues, and whether the burden or expense of the
       proposed discovery outweighs its likely benefit. Information within this scope of
       discovery need not be admissible in evidence to be discoverable.

FED. R. CIV. P. 26(b)(l). Among the limitations Rule 26(b) provides is the direction that the court

must limit the extent of discovery if it determines that the discovery sought is outside the scope of

Rule 26(b)(1) or ifit is "unreasonably cumulative or duplicative, or can be obtained from some other

source that is more convenient, less burdensome, or less expensive." FED. R. CIV. P. 26(b)(2)(C)(i);

Quaiz v. Rockier Retail Group, Inc., Case No. 3:16-cv-01879-SI, 2017 WL 960360, at *1 (D. Or.

Mar. 31, 2017). Also the court has discretion to limit the scope of discovery if "the burden or

expense of the proposed discovery outweighs its likely benefit, taking into account the needs of the

case, the amount in controversy, the parties' resources, the importance of the issues at stake in the

litigation, and the importance of the proposed discovery in resolving the issues." FED. R. CIV. P.

26(b)(2)(C)(iii).




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                                              Discussion

L       Motion to Compel ECF No. 364

        In this motion, Deloitte seeks an order compelling Plaintiffs to produce documents responsive

to its Request for Production No. 13 ("RFP 13") in its First Set of Request for Production. RFP 13

seeks documents pertaining to Plaintiffs' financial condition at the time of their Aequitas security

purchases or sales ("Financial Condition Documents"), and provides:

        Documents sufficient to show Your financial condition at the time of all of Your
        transactions of any Aequitas Security or any other Transaction with any Aequitas
        Entity, including without limitation Your federal income tax returns from the two
        years prior to such Transaction, Your investment, bank, or other account statements
        showing Your income, assets, or liabilities, or any other documentation sufficient to
        show Your income, assets, or liabilities. (Masuda Deel. Ex. 1 at 9.)

        Deloitte argues that it is entitled to documents pertaining to Plaintiffs' financial condition for

three primary reasons. First, Deloitte argues that to establish its defense that the Aequitas securities

were not required to be registered under Rule 506, it must demonstrate that it offered the securities

to "accredited investors." Deloitte contends that Plaintiffs were required to affirm that they were

"accredited investors" (i.e., their net worth was over $ lmillion or their income was over $200,000

for two years) when they signed their Aequitas PPM subscription agreements. Thus, Deloitte argues

the Financial Condition Documents are relevant to Deloitte proving the securities were exempt from

registration.

        Second, Deloitte argues that Plaintiffs' financial condition and investment experience is

relevant to Plaintiffs' knowledge and understanding of the risks of their investments. Deloitte

contends that "accredited investors" are deemed to have a certain amount of financial sophistication,




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and thus, the requested documents are relevant to test Plaintiffs' assertion that they did not know or

understand the alleged misstatements in the securities they purchased.

          Third, Deloitte contends that the Financial Condition Documents are relevant to class

certification. Deloitte maintains that any unique defenses or credibility challenges it has against the

lead Plaintiffs could impact Plaintiffs' ability to represent the putative class. Deloitte argues that it

is entitled to impeach the credibility of any Plaintiffs who misrepresented their "accredited investor"

status.

          In response, Plaintiffs contend that their accredited investor status is not relevant to any claim

or defense because they are challenging the Rule 506 exemption based on Aequitas engaging in

general solicitations and adve1iising, not their accredited investor status. Plaintiffs have offered to

stipulate to being accredited investors, an invitation Deloitte thus far has declined. Additionally,

Plaintiffs argue that their financial condition documents are not relevant whatsoever to whether they

knew of any untrue statements or omissions relating to Aequitas and its financial condition. And,

Plaintiffs assert that their Financial Condition Documents do not bear on any issue pertaining to class

certification because the affirmative defenses of unclean hand and in pari delicto posited by Deloitte

are not available under Oregon Securities law.

          The court denies Deloitte's motion with respect Plaintiffs' Financial Condition Documents

in RFP 13. As Plaintiffs correctly indicate, they are challenging whether Aequitas' s securities were

exempt under Rule 506 because they engaged in general advertising or general solicitations.

Accordingly, Plaintiffs status as accredited investors is not an issue in dispute, and the requested

documents are simply not relevant to establishing that the securities were exempt.




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        Deloitte' s second argument similarly fails. Deloitte has not demonstrated that the requested

Financial Condition Documents as they relate to Plaintiffs' "accredited investor" status are relevant

to any claim or defense in this case. Deloitte suggests that accredited investors are imputed with a

certain amount of knowledge, sophistication, and understanding of risks. But, the authorities

Deloitte relies upon involve publicly traded federal securities fraud claims under Rule 10b-5. 17

C.F .R. § 240.1 0b-5; see, e.g., City ofAlameda v. Nuveen Municipal High Income Opportunity Fund,

No. C. 08-4575-SI, 2010 WL 4955605, at *1 (N.D. Cal. Dec. 1, 2010) (granting motion to compel

to inquire into plaintiffs purchases of RBANs as relevant to "sophisticated investor" status under

federal securities law); see also Dura Pharms, Inc. v. Broudo, 544 U.S. 336, 341-42 (2005) (stating

elements of 10b-5 claim, including that plaintiff must have relied on the misstatement or omission).

Unlike Rule 10b-5 claims, in claims brought under ORS § 59 .115(1 )(b), only a purchaser's actual

knowledge of a misrepresentation or omission is relevant, and the statute provides for strict liability

for nonsellers who participate or materially aid the sale. See Towery v. Lucas, 128 Or. App. 555,

563-64 (1994) (providing that ORS§ 59.l 15(1)(b) does not contain obligation to make an inquiry;

rather buyer's actual knowledge is critical); Prince v. Brydon, 307 Or. 146, 148 (1988) (holding that

"[k]nowledge becomes an element of liability only in the form of an affirmative defense, to be

proved by a nonseller"). Thus, any suggestion that Plaintiffs' status as "accredited investors" is

relevant is mistaken.

        Deloitte' s third rationale also fails. Deloitte has not demonstrated its need to test Plaintiffs'

credibility at this juncture. Deloitte has not established that any factual basis for using the Financial

Condition Documents as impeachment evidence presently exists. See US. v. Bundy, 3: 16-cv-00051-

BR, 2016 WL 9049598, at *2 (D. Or. July 15, 2016) (denying defendants' request for documents


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they contended could have been used as impeachment evidence or to show bias because the

credibility of witnesses was not yet at issue); Lemanik, SA. v. McKinley Allsopp, Inc., 125 F.R.D.

602, 610 (S.D.N.Y. 1989) (noting evidence of investor sophistication is relevant to elements of

deception and reliance in Rule 10b-5 case, but denying defendant's request for documents

evidencing plaintiff's financial transaction experience because defendant "failed to present any

factual basis for its speculations that the wide ranging discovery it seeks" would lead to evidence

relevant to credibility). Here, Deloitte similarly offers only unsubstantiated speculation that at least

some Plaintiffs have lied about being accredited investors. Deloitte's unsupported suggestion is

without merit, and is not relevant to any claim or defense in the case. (Masuda Deel., Ex. 4 at 9-10

(Wurster Tr. April 6, 2018, at 8-9)) (finding that whether plaintiffs lied about being accredited

investors and should not have purchased Aequitas investment was not a defense at issue in the case;

denying discovery of financial condition documents).

        Likewise, the court concludes that the Financial Condition Documents are not relevant any

unique defenses or knowledge possessed by a particular Plaintiff that somehow bears on class

certification issues. At oral argument, Deloitte insisted that it could assert an unclean hands or in

pari delicto defense if it discovered that a Plaintiff was not an accredited investor. Deloitte,

however, has failed to demonstrate that such defenses are distinct from comparative negligence.

Deloitte has not established that under Oregon law any equitable defenses are available as part of the

statute's design or purpose. Hall v. Johnston, 758 F.2d 421, 423 (9th Cir. 1985) (finding that

equitable defenses run counter to Oregon's interests and are not applicable under ORS § 59.115).

       Finally, Deloitte has not demonstrated that the Financial Condition Documents will lead to

any information of probative value that advances the claims or defenses at issue in this case. The


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court finds that Deloitte' s request does not justify the cost and time required for Plaintiffs to produce

their Financial Condition Documents. Thus, the court also concludes that Deloitte's request is not

proportional to the needs of the case. FED. R. CIV. P. 26(b)(2)(C)(iii).

        Accordingly, Deloitte's motion to compel the production of Plaintiffs' Financial Condition

Documents responsive to RFP No. 13 is denied.

II.     Motion to Compel ECF No. 383

        In this motion, Deloitte moves to compel the production of all nonprivileged documents

responsive to Requests Nos. 22 and 23 contained in its Second Set of Requests for Production of

Documents ("Second RFP"). Deloitte seeks two sets of documents: (1) Plaintiffs' and their lawyers'

communications with Ronald L. Greenspan, the court-appointed Receiver (the "Receiver") in the

SEC action and documents related to those communications; and (2) documents related to certain

Plaintiffs' involvement in the Receiver's Investor Advisory Committee ("IAC"). Deloitte asserts

that the Receiver has played a large and undisclosed role in this litigation and such communications

are relevant and not covered by privilege or work product protections. 2

        Specifically, Request No. 22 seeks: "All documents Relating to any Communications

between You and the Receiver." (Deel. Gavin M. Masuda Supp. Deloitte's Mot. Compel ("Masuda

Deel.") Ex. 11 at 10, ECF No. 384.) Request No. 23 provides the following:

        All documents Relating to Your involvement in the Receiver's Investor Advisory
        Committee ("IAC"), including all Documents Relating to any Communications
        between You and any Person in the IAC.


        2
        Deloitte has similarly moved to compel production of these documents in the Multnomah
County actions. (See Def.'s Mot. Compel at 9 n.9, ECF No. 383.)




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(Id.) In response, Plaintiffs assert the requested information is not relevant; is protected by the

attorney-client privilege, the common-interest doctrine and settlement privilege; and that Deloitte's

request is over- broad.

       A.      Background of the Receiver and the IAC

       This lawsuit is one of several following the collapse of Aequitas. The SEC filed a complaint

against Aequitas and its principals, Robert J. Jesnick, Brian A. Oliver, and N. Scott Gillis in the SEC

action (the "Individual Defendants"). On March 16, 2016, the court in the SEC action entered a

"Stipulated Interim Order Appointing Receiver" naming Mr. Greenspan as Receiver of the

"Receivership Entity," and the "Extended Entities." (Masuda Deel. Ex. 2.) Broadly, the Receiver

was appointed to marshal and preserve Aequitas assets. The interim order also included a stay of

any ancillary litigation proceedings. (Id. at 8-9.) On March 18, 2016, several of the Plaintiffs in this

case, (listed as "interested parties" in the SEC action), filed a motion for relief from the litigation

stay in the SEC action, seeking to assert Oregon Securities Law claims against non-receivership

(non-Aequitas) parties. (Id. Ex. 3.)

        On April 14, 2016, the court in the SEC action entered a final Order Appointing Receiver

("Final Order"). (Id. Ex. 6.) The Final Order contains a revised litigation stay, permitting "civil

legal proceedings" that have accrued or are accruing to parties other than the Receiver and brought

against "third party professionals, registered investment advisors, and others in which the

Receivership Entity has no direct or indirect ownership interest." (Id. Ex. 6 at~ 23.) In a September

14, 2016 Receiver's Report, the Receiver noted that he "has undertaken efforts to maximize recovery

under the various insurance policies while, at the same time, clearing a path for investors to pursue




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recove1y on claims against third party professionals which are not held by the Receivership Entity."

(Id Ex. 7 at 9.)

        The Receiver formed the Investor Advisory Committeee ("IAC") to "facilitate regular

communication regarding significant opportunities, challenges and actions" and is comprised of

about 50 members, including registered investment advisors ("RIAs"), "individual investors

representing approximately 1,100 of the investors and more than $406 million in investor funds."

(Id Ex. 7 at 31.) In the Receiver's September 14, 2016 Report, the Receiver indicated that IAC

meetings occurred on March 6, 2016 (pre-receivership), April 27, 2016, June 22, 2016, and August

24, 2016. (Id.) In that Report, the Receiver also indicated that he also "provides substantially

similar information to interested counsel immediately following IAC meetings" in order to "convey

information regarding the receivership and also discuss strategy to maximize recovery to the

Receivership Entity." (Id at 32.) The Receiver indicated in the Report that:

        Copies of presentation materials utilized in the meetings were provided to SEC staff,
        and an SEC staff-representative attended the April 27, 2016 meeting in person. The
        Receiver and his counsel regularly apprise SEC staff of significant developments
        affecting the Receivership Entity. In addition, the Receiver provided an in-person
        report to SEC staff at the SEC's San Fransico office on May 9, 2016.

(Id.)

        In the July 31, 2018 Receiver's Report, the Receiver indicates that he consolidated all digital

information into a centralized database to which 250 users have access, including Deloitte and

Plaintiffs' counsel. (Id Ex. 8 at 9 & n.6.) In that Report, the Receiver also indicated that he has

negotiated settlements between Aequitas Investors, the Individual Defendants, the Receivership

Entity, and the responsible insurance carriers in an effort to maximize recovery and minimize

litigation expenses. (Id at 10.)


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        In its motion, Deloitte contends that members of the IAC include at least one Plaintiff from

this action (James MacDonald), plaintiffs from the Multnomah County actions, registered investment

advisors Keith Barnes and William Ruh, and representatives from Defendant Integrity Bank and

Trust. Deloitte complains that it is unknown who is invited to attend the IAC meetings with counsel.

Deloitte argues that the Receiver has been providing information to Plaintiffs to support their

allegations, that the Receiver has assisted Plaintiffs in fulfilling their document production

obligations, and that the Receiver was a key player in brokering the Tonkon partial settlement

currently under the court's review. (Masuda Deel. Ex. 13 at 5; Am. Mot. Preliminary Approval of

Partial Settlement, ECF No. 350.) Deloitte argues that the pro tanto bar order was the Receiver's

idea, and that it has the effect of pushing offTonkon' s liability to the other non-settling Defendants. 3

(Masuda Deel. Ex. 8 at 27.) Deloitte further argues that the Receiver and the IAC have played key

roles in the instant action, and therefore the documents requested in RFP Nos. 22 and 23 are relevant

and discoverable.

            Plaintiffs respond that they have provided all direct, personal communications with the

Receiver related to their personal Aequitas investments. Plaintiffs contend that any remaining

responsive documents are communications between them and the Receiver concerning litigation and

        3
          The court notes that in the July 31, 2018 Receiver's Report, the Receiver indicated that the
Individual Defendants (Jesnick, Oliver, and Gillis) and the SEC had reached a tentative resolution
of the claims presented in the SEC action. (Masuda Deel. Ex. 8 at 10.) In the July 31, 2018 Report,
the Receiver recommended that the Stay of Litigation against the Individual Defendants and the
Receivership Entity not be lifted until sometime after September 30, 2018. (Masuda Deel. Ex. 8 at
11.)




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settlement strategies that are protected by various privileges and confidentiality agreements, or are

not relevant to any claims in dispute in this case and Deloitte' s motion must be denied. 4

        B.     Analysis

       Deloitte contends that the Plaintiffs and the Receiver have been in communication about the

lawsuit and relevant topics since before Mr. Greenspan was appointed as Receiver. It appears that

Deloitte seeks information pertaining to IAC presentation materials to SEC staff, documents from

the Receiver supporting litigation positions, documents relating to the valuation and sale of ACOF,

documents pertaining to forensic findings shared with IAC and Plaintiffs' counsel, and documents

relating to the settlement between Plaintiffs and Tonkon. (Def. Deloitte Mot. Compel at 6-7, ECF

No. 383.) According to Deloitte, to the extent that any documents could be covered by privilege,

the privilege has been waived.

       Plaintiffs contend that the documents requested by Deloitte in RFP Nos. 22 and 23 fall into

several categories: (1) communications between the Receiver and Plaintiffs' counsel relating to

mediations or settlements of claims against Defendants and others; (2) communications between the

Receiver and Plaintiffs' counsel regarding claims against Defendants; and (3) communications

between the Receiver and his counsel and Plaintiff MacDonald in his role as member of the IAC.

Plaintiffs argue that the requested documents contain confidential mediation communications,

contain communications protected by the common-interest doctrine, or are covered by the work-


        4
          Plaintiffs also contend that Deloitte did not adequately confer pursuant to Local Rule 7-1 (a)
prior to filing this motion. Information submitted by Deloitte in support of its motion reveals that
the parties exchanged letters concerning RFPNos. 22 and 23. (MasudaDecl. Exs. 13 & 14.) While
the court always encourages parties to attempt to reach resolution, the court concludes that given the
serious nature of the parties' dispute, further discussions were unlikely to do so in this instance.




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product doctrine. Finally, Plaintiffs submit that to extent that any documents are discoverable,

Deloitte's requests are overbroad.

                1.     mediation/settlement communications between Receiver, Plaintiffs, and
                       Plaintiffs' counsel

       Deloitte contends that it is entitled to discovery of any documents created at any mediation

involving Plaintiffs and the Receiver. Deloitte argues such documents are necessary to establish that

the Plaintiffs' settlement with Defendant Tonkon is coercive and prejudicial to the non-settling

Defendants.

       Plaintiffs acknowledge they have made the settlement reached with Defendant Tonkon

available in the public record. Information submitted by Plaintiffs includes the settlement amount.

(Am. Mot. Preliminary Approval Partial Settlementat3-4,ECFNo. 350.) Plaintiffs submit that they

have participated along with the Receiver in a second mediation. Plaintiffs add that the Receiver

acted as a third-party mediator to assist a smaller group of investors to settle their claims against

Tonkon and that Plaintiffs participated in that mediation as well.        Plaintiffs argue that any

communications at the various mediations are privileged, non-discoverable, and inadmissible. The

court agrees.

       Pursuant to ORS § 36.220(1), "[m]ediation communications are confidential and may not

be disclosed to any other person." ORS § 36.220(1)(a). If a communication is confidential under

ORS § 36.220, it is inadmissible in "any subsequent adjudicatory proceeding." Alfieri v. Solomon,

358 Or. 383, 395-96 (2015) (en bane) (discussing mediation communications under ORS §

36.222(1)). Likewise, federal courts recognize a "strong public policy favoring settlement of

disputed claims dictates that confidentiality agreements regarding such settlements not be lightly



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abrogated." See Thomasianv. Wells Fargo Bank, NA., No. 3:12-cv-01435-HU,2013 WL4498667,

at *2 (D. Or. Aug. 22, 2013).

       Plaintiffs have demonstrated that they and the Receiver were parties to two mediations

conducted by third-party mediators, and that all statements, documents, and other written materials

submitted at those mediations are privileged, non-discoverable, and inadmissible.         ORS §§

36.110(7), 36.222(1 ). To the extent that settlement amounts received by Plaintiffs become relevant

to a post-judgment reduction of damages, that issue may be addressed at a later time. See

Thomasian, 2013 WL 4498667, at *2 (concluding that issues of off-set could be resolved post-trial

and potential credibility issues could be resolved by court's in camera review; denying motion to

compel settlement agreements); Contreras v. Kohl's Dept. Stores, Inc., No. EDCV 16-2678-JGB

(KK.x), 2017 WL 6372646, at *3 (C.D. Cal. Dec. 12, 2017) (same); Peters v. Equifax Info. Servs.

LLC, No. EDCV 12-1837-TJH (OPx), 2013 WL 12169355, at *3 (C.D. Cal. Dec. 13, 2013) (same).

Deloitte's motion to compel is denied.

               2.     communications between the Receiver and Plaintiffs' counsel regarding
                      claims against Defendants

        The parties do not precisely define documents in this category. Here, Deloitte seeks

documents concerning the Receiver's meetings "with counsel for the various investor interests" to

"convey information regarding the receivership" and discussing "strategy to maximize recovery into

the Receivership Entity." (Masuda Deel. Ex. 7 at 32.) Deloitte argues that the common-interest

doctrine does not apply to these documents because Plaintiffs' interests and those of the Receiver

are directly adverse. Deloitte maintains that the Receiver's interests are adverse because the IAC

comprises Aequitas insiders, registered investment advisors (including Barnes and Ruh), and

Defendant Integrity Bank. Additionally, Deloitte contends that any documents between the Receiver

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and Plaintiffs' counsel cannot be protected by the work-product doctrine because the Receiver cannot

play a role in helping Plaintiffs prepare for litigation. Further, Deloitte contends that Plaintiffs have

not prepared a privilege log.

        Plaintiffs argue that Deloitte's request is simply an effort to probe into Plaintiffs' and the

Receiver's litigation strategies. Plaintiffs contend that the documents are not relevant to any claim

asserted by the Plaintiffs or any affirmative defense asserted by Deloitte. Additionally, Plaintiffs

contend that even if responsive documents are relevant, they are covered by the common-interest

doctrine. Plaintiffs argue they share common interests with the Receiver because they are trying to

maximize assets in order to repay Plaintiffs and the potential investor class. Additionally, Plaintiffs

contend that their interests align with the Receiver because the Receiver also has claims against

Deloitte and the other Defendants in this action. Plaintiffs highlight that their interests need not be

identical, just sufficiently similar. Finally, Plaintiffs assert that it is contrary to common practice to

create a privilege log for documents prepared during the course of litigation.

        The court finds that on the current record, Deloitte has not established that any documents

(beyond the investor packets Plaintiffs already have provided) evidencing communications between

Plaintiffs and the Receiver are relevant to any claim or defense at issue in this case. Deloitte has not

demonstrated that documents created by Receiver (appointed in April of 2016) are relevant to

whether Aequitas sold securities to Plaintiffs in violation of Oregon Securities law and whether

Deloitte participated or materially aided in the sale of those securities. And, Deloitte has not offered

any argument to explain how the requested documents from Plaintiffs that concern the Receiver's

asset recovery strategy after Aequitas entered receivership is probativelytied to Plaintiffs' underlying

securities fraud claims. Deloitte's motion to compel these documents is denied.


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                3.      communications between the Receiver, the IAC, and others

        In Request No. 23, Deloitte seeks documents pertaining to any Plaintiffs' involvement on the

IAC, and all documents relating to any communications between Plaintiffs and any person on the

IAC. Deloitte argues that even if the IAC materials are covered by the attorney-client or common-

interest privilege, it has been waived. To that end, Deloitte contends that the Receiver has

acknowledged providing certain IAC materials to SEC staff on April 27, 2016, and any documents

related to an in-person report between the Receiver and SEC staff on May 9, 2016. (Masuda Deel.

Ex. 7 at 32.) And, Deloitte contends that the Receiver has shared preliminary "forensic findings"

with Plaintiffs and the IAC before they were made public. (Masuda Deel. Ex. 8 at 31.) Deloitte also

appears to argue that the Receiver had communications with the IAC about the valuation and sale

of ACOF.

        Plaintiffs respond that their attorneys do not participate in IAC meetings; the IAC meetings

are attended by IAC members, the Receiver, and the Receiver's attorneys. Plaintiffs contend that

Mr. MacDonald's participation in IAC meetings is conditioned on the confidentiality of all

information shared. Plaintiffs submit that documents the Receiver has provided to Mr. MacDonald

as a member of the IAC are labeled "Privileged and Confidential" and constitute the Receiver's work

product. Alternatively, Plaintiffs argue that information the Receiver shared with IAC members is

not relevant to the issues in this lawsuit and, therefore, Deloitte is not entitled to discovery of those

documents. Plaintiffs submit that any valuation of ACOF during Aequitas's receivership is simply

not relevant to the claims at issue in the current litigation, which only relates to the pre-receivership

valuation of ACOF.




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       As the court stated above, Deloitte has failed to demonstrate that its requests for documents

revealing communications between Plaintiffs, the Receiver, and the IAC are relevant to any claim

or defense at issue in this case. Deloitte has not shown that any documents provided at any IAC

meeting are relevant to whether Aequitas sold securities in violation of Oregon Securities law and

whether Deloitte participated or materially aided in the sale of those securities. And, contrary to

Deloitte's suggestion that the Receiver assisted Plaintiffs with their document production in this

case, the Receiver created a database of information publicly available to multiple parties, including

Deloitte.

       Deloitte likewise has failed to explain why it has not requested or subpoenaed its requested

documents directly from the Receiver, who could then provide the documents or assert any claims

of privilege, work product, or objections he may have. For example, Deloitte contends that the

Receiver shared its preliminary "forensic findings" and discussed the valuation of ACOF with the

IAC. However, it appears on the limited record before the court that the Receiver may assert such

drafts are protected by a work-product privilege. Deloitte' s attempt to obtain them through a motion

directed at Plaintiffs in this action, as opposed to seeking them from the Receiver is inefficient,

inconvenient, and not proportional. Thus, the court concludes that Deloitte has not demonstrated

its request for the IAC documents will yield probative information that advances the claims or

defenses that justify the cost and time required to produce it. Deloitte has failed to show its request

cannot be obtained from another source that is less burdensome and more proportional to the needs

of the case. FED. R. CIV. P. 26(b)(2)(C). Therefore, on the record as it currently stands, Deloitte's

motion to compel is denied.




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                                        Conclusion

      Based on the foregoing, Deloitte's Motion to Compel (ECFNo. 364) is DENIED. Deloitte's

Motion to Compel (ECF No. 383) is DENIED.

      IT IS SO ORDERED.
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      DATED this /   0 day of December, 2018.




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